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March 25, 2019

VIA ELECTRONIC FILING

Honorable G. Michael Harvey
United States Magistrate Judge
United States District Court for the District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

Re:       United States v. All Assets, et al.
          No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Harvey:

We represent Pavel Lazarenko in the matter captioned above. We write Your Honor to provide a
limited response to the March 22, 2019 letter of the United States concerning the scheduling of
Alexander Lazarenko’s deposition.

We prefer that Alexander Lazarenko’s deposition take place in Washington D.C. A deposition in
Washington D.C. is far less expensive and time consuming for all parties as compared to a
deposition anywhere in Ukraine. Attending a deposition in Ukraine requires multiple days travel
and is an expensive venture. Second, the relevant documents, other parties and counsel are all
located in the United States – not Ukraine. Thus, a deposition here is far less burdensome for all.

Given the significant cost to the United States to conduct Mr. Lazarenko’s deposition in Ukraine,
it is respectfully suggested that its insistence that the deposition take place there is purely a
litigation tactic. The United States knows Mr. Lazarenko does not want to sit for a deposition in
Ukraine, so it presses its requested relief – not in the pursuit of justice – but in the hope he will
not appear and that this Court then dismisses his claim.

Finally, we are agreeable to having the deposition taken outside the current discovery deadline, as
the parties have agreed for the deposition of Pavel Lazarenko. This case is many years old and a
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short delay in Mr. Lazarenko’s deposition causes no unfair prejudice to the United States or any
other party.

Accordingly, we respectfully request that the Court enter an Order requiring Mr. Lazarenko to
appear at a deposition held in Washington D.C.

Respectfully,




William H. Stassen

WHS:ad


cc:    All counsel of record (via ECF)
